                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

_________________________________

G.H., a minor, by and through his parent
and legal guardian, GREGORY HENRY;
R.L., a minor, by and through her parent
and legal guardian, ANGEL CARTER;                   Case No.:
B.W., a minor, by and through her parent
and legal guardian, LEROI LUZUNARIS;
on behalf of themselves and all persons
similarly situated,

                   Plaintiffs,

v.

SIMONE MARSTILLER, in her official
capacity as Secretary of the Florida
Department of Juvenile Justice; and the
FLORIDA DEPARTMENT OF JUVENILE
JUSTICE, an agency of the State of Florida,

               Defendant.
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                                 CLASS ACTION
                                  COMPLAINT

                        PRELIMINARY STATEMENT

      1.     Subjecting children to solitary confinement and depriving them of

even minimal meaningful social interaction can cause trauma, depression, and

anxiety, increase the risk of suicide and self-harm, and permanently interfere with

children’s development. Despite these well-known risks of serious harm, the
Florida Department of Juvenile Justice (DJJ) isolates thousands of children in

solitary confinement every year. The risk of harm for children begins immediately

when they are isolated in solitary confinement.

       2.     Solitary confinement is unnecessary, unproductive, and can be

permanently damaging to the individuals subjected to it. A national consensus is

emerging that solitary confinement poses a risk of harm for anyone, but is

especially harmful for children, who are still developing physically,

psychologically, and socially. For children with mental illness, developmental

disabilities, or histories of trauma, the risk of harm from isolation is even greater.

Among other authorities, the U.S. Department of Justice, the American Medical

Association, the American Academy of Child and Adolescent Psychiatry, and the

National Commission on Correctional Health Care have recognized that solitary

confinement is harmful and should be eliminated for children.

       3.     The named Plaintiffs, and the class they seek to represent, are, or will

be, subject to solitary confinement, in one of the 21 DJJ-operated secure detention

centers (Secure Detention) throughout the state. They bring this action to address

the violations of their rights.

       4.     DJJ, through policy and practice, subjects children to solitary

confinement, often the same child repeatedly, without any time limit, to manage

their behavior as a first response to any situation. In solitary, children spend hours


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or days behind locked steel doors in tiny cells. DJJ denies them access to outdoor

recreation and schooling, and deprives them of normal human interactions.

Children have nothing to do while in solitary confinement but cry, sit idly, bang on

the door, yell to try to get the staff’s attention, or sleep. DJJ requires them to eat in

their tiny cells next to toilets smelling of, and contaminated by, human waste. The

cumulative effect of these deprivations in isolation presents a substantial risk of

serious harm to these children, all of whom are vulnerable due to their continuing

development.

      5.     DJJ subjects children with mental illness, who have engaged in self-

harming behaviors, or are at risk for suicide, to solitary confinement despite their

heightened risk for harm. DJJ fails to provide a mental health examination prior to

confinement or meaningful mental health treatment during confinement to prevent

the onset or exacerbation of mental illness and reduce the risk of suicide. DJJ’s

failure to provide even these basic mental health services is especially troubling

considering the strong correlation between isolation and the risk of suicide in

juvenile detention: fifty percent (50%) of youth who committed suicide in juvenile

facilities were in isolation for behavioral sanctions at the time of their death. DJJ is

not only aware of this risk of serious harm to children, it has actually studied it, yet

still refuses to take appropriate and necessary actions to prevent it.




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      6.     Depriving a child of meaningful social interaction, programming, or

mental stimulation is harmful and counterproductive to the goals of ensuring the

safety and security of juvenile facilities. For these reasons, there is a national trend

among juvenile and correctional entities to eliminate or dramatically reduce

disciplinary or punitive isolation for juveniles and, instead, use more appropriate

techniques for managing behavior. These entities use very brief, short-term

separation of a youth from others, if at all, and only as a last resort when other

options fail to de-escalate situations which pose an acute immediate risk of

physical harm to the youth or others. During these brief separations, youth receive

mental health services, access to basic necessities, programming, and procedural

safeguards such as individualized assessments, supervisory approvals, and reviews.

Despite the national shift away from using solitary confinement based on a

consensus among scientific, medical, and mental health professionals about the

psychological and physiological risks of serious harm, DJJ has ignored these risks

and continues to subject children in secure detention centers to frequent and

repeated solitary confinement.

      7.     Defendant Simone Marstiller is aware of and has deliberately

disregarded the substantial risk of harm to the rights of Plaintiffs, and other

similarly situated children, by authorizing and subjecting them to illegal conditions

of confinement, including a policy and practice of using harmful solitary


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confinement in violation of the right to be free from cruel and unusual punishment

as guaranteed by the Eighth and Fourteenth Amendments to the United States

Constitution and 42 U.S.C. § 1983. Defendants Simone Marstiller and DJJ have

also acted, and are acting, under color of state law to discriminate against Plaintiffs

and Class Members with disabilities in violation of the Americans with Disabilities

Act and Section 504 of the Rehabilitation Act.

      8.     Plaintiffs, on behalf of themselves and the class they seek to represent

(hereafter collectively “Plaintiffs”), bring this action to redress the violations of

their civil, statutory, and constitutional rights by Defendants while acting under

color of state law. Plaintiffs challenge Defendants’ statewide policy and practice of

using solitary confinement in Secure Detention where children are isolated from

others in a locked cell with no meaningful social interaction, environmental

stimulation, outdoor recreation, schooling, or property. Without judicial

intervention, these children will continue to suffer from the physical and

psychological harm from solitary confinement. Plaintiffs seek declaratory and

injunctive relief requiring Defendants to cease the challenged unlawful policies

and practices.

                          JURISDICTION AND VENUE

      9.      Plaintiffs’ claims for relief are predicated upon 42 U.S.C. § 1983

which authorizes actions to redress the deprivation, under color of state law, of


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rights, privileges, and immunities secured by the Constitution and laws of the

United States; the Eighth and Fourteenth Amendments to the United States

Constitution; the Americans with Disabilities Act (ADA), 42 U.S.C. § 12131, et

seq.; and Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.

      10.    This Court has jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C. §§ 1331 and 1343(a)(3) & (4).

      11.    Plaintiffs seek declaratory and injunctive relief under 28 U.S.C. §§

1343, 2201, 2202, and 42 U.S.C. § 1983 for injury to their rights under the

Fourteenth and Eighth Amendments to the United States Constitution.

                                      VENUE

      12.    Venue is proper in the Northern District of Florida under 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to the

claims brought by Plaintiffs and the class have occurred in this District and

Defendants are located in this District.

                                     PARTIES

PLAINTIFFS:

      Plaintiff G.H.

      13.    Plaintiff G.H. is a 13-year old African-American child who lives in

Orange City, Florida with his parents. He is in Secure Detention at the Volusia




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Regional Juvenile Detention Center (Volusia JDC). He appears in this action

through his parent and legal guardian, Gregory Henry.

      14.    G.H. has been diagnosed with an emotional behavioral disorder. Prior

to his placement in Secure Detention, G.H. received intensive therapy at the

Florida Palms Academy in Miami, a community-based Statewide In-Patient

Psychiatric Program (SIPP) that provides services to children with emotional and

behavioral needs. He has also received Exceptional Student Education (ESE)

services for students with disabilities. His disability interferes with his ability to

learn and think. As a result of his disabilities, he experiences depression, anxiety

which makes it difficult to breathe, and thoughts about self-harm.

      15.    DJJ has repeatedly isolated G.H. in solitary confinement at the

Volusia JDC. While in current custody in Secure Detention, DJJ has locked G.H.

in solitary confinement once for approximately three days for horseplay with a

friend and a second time for over two days for fighting with other children. In

isolation, G.H. became increasingly anxious and depressed, causing him to bang on

the cell door and flood the cell. In response to these disability-related behaviors,

DJJ kept G.H. in solitary confinement.

      16.    During a previous time in Secure Detention, DJJ isolated G.H. in

solitary confinement for one day for fighting with another child.




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      17.    Each time that DJJ locked G.H. in solitary confinement, it was

horrible. DJJ took all of his personal property and left him in an empty room. He

had no one to talk to and nothing to do. DJJ prohibited him from going to school

and did not provide him with education services in his cell. DJJ also prohibited him

from going outside or to recreation. DJJ even forced him to eat in his drab, dirty

cell. Typically, the only interactions that he had with staff were when they asked

him through the cell door whether he had eaten his food. As a result of these

deprivations and conditions, G.H. began to feel depressed and angry almost

immediately after DJJ isolated him.

      18.    During one of the recent confinement periods, the trauma that G.H.

experienced caused him to wrap his pants around his neck to choke himself.

Instead of providing a meaningful mental health intervention, DJJ’s sole response

was to send a detention staff person to open his door, take the pants from around

G.H.’s neck, briefly talk to him, and then leave. After the detention staff person

left, G.H. wrapped his pants around his neck again to choke himself. He got a

funny feeling in his heart, chest, neck, and face and got scared, so he stopped. DJJ

never provided any mental health treatment in response to this self-harming

behavior.

      19.    Defendants’ solitary confinement policies and practices caused G.H.

to display symptoms and harm that are consistent with those experts identify


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among people in solitary confinement. He engaged in acts of self-harm while in

solitary confinement by wrapping his pants around his neck and choking himself.

G.H. felt like he was going to die. He became paranoid. G.H. had difficulty

sleeping and thought he was having a seizure while he was sleeping even though

he does not get seizures. His back and neck also hurt because DJJ would not give

him a mat to lie down on during the day; instead, he lay on a hard concrete slab in

the cell.

       20.   Defendants subject G.H. to a substantial risk of serious harm by

isolating him in confinement, including by causing him to engage in serious self-

injury, placing him at risk for suicide, exacerbating his psychiatric disability, and

causing him to experience further trauma. By isolating him in solitary confinement,

Defendants also subject G.H. to disability discrimination by failing to modify their

policies and procedures to accommodate his disability; by denying him equal

access to programs, services, and activities, including recreation, education, and

healthcare because of his disability; and by failing to house him in the most

integrated setting to meet his needs.

       21.   G.H. reasonably fears that he will be subject to solitary confinement

again at the Volusia JDC if he is not granted injunctive relief because Defendants

have repeatedly subjected G.H. and other children to solitary confinement.




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      Plaintiff R.L.

      22.      Plaintiff R.L. is a 13-year old African-American child who lives in

Jacksonville, Florida. She is in Secure Detention at the Duval Regional Juvenile

Detention Center (Duval JDC). She appears in this action through her parent and

legal guardian, Angel Carter.

      23.      Prior to her placement in Secure Detention, R.L. received Exceptional

Student Education services through the P.R.I.D.E. Academy program in the Duval

County Public Schools which provides emotional and behavioral support for

students with disabilities. Recently, R.L. spent several months at a SIPP for

children at Daniel Kids in Jacksonville which provides intensive residential

treatment for children exhibiting severe symptoms of mental and emotional

distress. R.L. has been involuntarily hospitalized in a Baker Act facility 1 several

times. She has been diagnosed with bipolar disorder, post-traumatic stress disorder,

major depressive disorder, conduct disorder, and intermittent explosive disorder,

and takes psychiatric medications. Her disabilities interfere with her ability to

concentrate, learn, interact with others, and think. As a result of her disabilities, she

has frequent mood changes and it is difficult for her to regulate impulsive

behaviors, maintain self-control, and respond appropriately to conflict with others.




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          See § 394.467, Fla. Stat. (2019).
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      24.    DJJ isolated R.L. in solitary confinement at the Duval JDC at least

two times. On August 27, 2019, DJJ put R.L. into confinement for approximately

six hours after another child punched her in the face. DJJ kept R.L. in confinement

even after she filed a grievance asking not to be put in confinement and told DJJ

that isolating her made her anxiety worse and would put her at risk of harm

because of her psychiatric disability. R.L. cried in confinement – she was

emotional, upset, and asked to be let out. She was not released from confinement

until hours later. In November 2017, DJJ isolated R.L. in confinement for

approximately eight hours for peeling the paint off the wall in her cell.

      25.    While isolated in solitary confinement, R.L. had nothing to do and no

one to talk to. She just sat there or cried. The confinement cell was nasty, smelly,

soiled with old human feces, and defaced by writing on the wall. While she was in

confinement, DJJ did not allow her to attend school or receive education services.

DJJ did not allow her to go to recreation. She had to eat in the confinement cell

after all the other children ate. DJJ did not let her have any personal property. She

was only allowed a mat at night to sleep on. Each time she was put in isolation, she

had no idea what time it was or when she would get out. DJJ failed to evaluate her

mental status before placing her in confinement to determine what

accommodations and services she may have needed to prevent harm. DJJ has

knowledge of her extensive mental health needs.


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      26.    Defendants’ solitary confinement policies and practices caused R.L. to

display symptoms and harm that are consistent with those experts identify among

people in solitary confinement. She was depressed because she could not talk to

her mother. She felt more anxious and found it difficult to sleep. She felt upset and

trapped. She felt alone and angry. The trauma of solitary confinement made her

disability related psychiatric symptoms worse.

      27.    Defendants subject R.L. to a substantial risk of serious harm by

isolating her in confinement, including by exacerbating the symptoms of her

mental illness and causing her to experience further trauma. By isolating her in

solitary confinement, Defendants also subject her to disability discrimination by

failing to modify their policies and procedures to accommodate R.L.’s disability;

by denying her equal access to programs, services, and activities, including

recreation, education, and healthcare because of her disability; and by failing to

house her in the most integrated setting to meet her needs.

      28.    R.L. reasonably fears that she will be subject to solitary confinement

again at the Duval JDC if she is not granted injunctive relief because Defendants

have repeatedly subjected R.L. and other children to solitary confinement.




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      Plaintiff B.W.

      29.    Plaintiff B.W. is an African-American girl who lives in Jacksonville,

Florida. She turned 16 years old while in Secure Detention at the Duval JDC. She

appears in this action through her parent and legal guardian, Leroi Luzunaris.

      30.    B.W. has been diagnosed with Attention Deficit Hyperactivity

Disorder (ADHD) and prescribed Adderall. DJJ diagnosed B.W. as needing to see

an eye doctor for an exam and glasses to correct impaired vision in both eyes with

significantly impaired vision in her left eye. Her disabilities interfere with her

ability to concentrate, think, and see.

      31.    DJJ determined that B.W. was pregnant while she was in Secure

Detention at the Duval JDC in June 2019 based on a pregnancy test. She is

currently approximately 13-14 weeks into her pregnancy.

      32.    In July 2019, while DJJ was aware that she was pregnant, DJJ isolated

B.W. in solitary confinement. She was initially told that she would be put into

isolation because she was pregnant, but then put in confinement because she did

not go to school. No mental health professionals or medical staff evaluated B.W.

during her time in solitary confinement or after. She remained isolated in

confinement for several hours. Defendants subjected B.W. to a substantial risk of

serious harm by isolating her in confinement, including while she was pregnant

and more vulnerable to physical and mental harm such as miscarriage, birth


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complications, or aggravated pregnancy-related symptoms caused by the trauma of

solitary confinement.

      33.    DJJ has repeatedly isolated B.W. in confinement at least 11 times

while she has been in Secure Detention for periods ranging from several hours to

three days. In 2018, while B.W. was in Secure Detention at the Duval JDC, DJJ

isolated B.W. in solitary confinement two times for fighting with other children –

once for three days and a second time for one day. In 2018, DJJ also repeatedly

isolated her four other times in confinement for periods including one day, over

seven hours, five hours, and almost eight hours. She was put in isolation for

reasons such as arguments with other children, cursing at staff, and running. In

2017, DJJ isolated B.W. in confinement four times for periods ranging from one

day to eight hours for fighting with another child, arguing with other children, and

after another child punched her and spit on her.

      34.    Each time that DJJ isolated B.W. in solitary confinement, the cells

were disgusting and dirty. There was human feces smeared on the wall. There were

bugs and flies in the room. DJJ did not allow her to have a mat or blanket during

the day. She was only allowed out of solitary confinement for a few minutes a day

to shower after everyone else. She had to eat in her cell. The only time DJJ staff

opened the door was to give her food or take her to shower. While in confinement,




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B.W. felt vulnerable, powerless, and miserable. No staff told her how long she

would be in solitary confinement or when she would get out.

      35.    Defendants’ solitary confinement policies and practices caused B.W.

to display symptoms and harm that are consistent with those experts identify

among people in solitary confinement. She felt alone, missed her family, and cried.

She felt distressed, uneasy, and worried because she was locked in a cell for days

and did not know when she would get out. She could not socialize with other

people. While she was pregnant, the smell and filthy conditions of the room made

her feel sick and nauseated.

      36.    Defendants subject B.W. to a substantial risk of serious harm by

isolating her in confinement and depriving her of social interaction, environmental

stimulation, and exercise. By isolating B.W. in solitary confinement, Defendants

also subject her to disability discrimination by failing to modify their policies and

procedures to accommodate her disability and by denying her equal access to

programs, services, and activities, including recreation, education, and healthcare

because of her disability; and by failing to house her in the most integrated setting

to meet her needs.

      37.    B.W. reasonably fears that she will be subject to solitary confinement

again at the Duval JDC if she is not granted injunctive relief because Defendants

have repeatedly subjected B.W. and other children to solitary confinement.


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      38.    Plaintiffs sue through their parents and legal guardians who are adult

citizens of the State of Florida.

DEFENDANTS:

      39.    Defendant Simone Marstiller (Marstiller) is the Secretary of the

Florida Department of Juvenile Justice. She was appointed DJJ Secretary in

January 2019 and is sued in her official capacity. As DJJ Secretary, she is

responsible for “planning, coordinating, and managing the delivery of all programs

and services within the juvenile justice continuum,” which includes all detention

centers and related programs and facilities, community-based residential programs,

non-residential programs, and all delinquency institutions funded by the

department. § 20.316(1)(b), Fla. Stat. (2019). Secretary Marstiller is required to

“[e]nsure that juvenile justice continuum programs and services are implemented

according to legislative intent; state and federal laws, rules and regulations;

statewide program standards; and performance objectives,” “establish program

policies and rules,” and “coordinate staff development and training.” §§

20.316(c)(1), (4) & (6), Fla. Stat. Secretary Marstiller has the final authority to take

any necessary corrective action concerning a DJJ program or provider. See §

985.632(5)(f)(2), Fla. Stat.

      40.    At all times relevant to this Complaint, Defendant Marstiller was

acting under color of state law.


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      41.    Defendant Florida Department of Juvenile Justice is the principal

administrative unit within the executive branch of the State of Florida responsible

for planning, developing, coordinating, and administering the juvenile justice

continuum of comprehensive services and programs statewide for the prevention,

early intervention, control, and rehabilitative treatment of delinquent behavior. §§

20.03(2); 985.601. Defendant DJJ is an instrumentality of the State of Florida.

      42.    Defendant DJJ receives federal financial assistance.

                           FACTUAL ALLEGATIONS

Secure Detention in the Department of Juvenile Justice

      43.    The Florida juvenile justice system is operationally and

philosophically distinct from the adult criminal justice system. The juvenile system

manages youth under a strategy of redirection and rehabilitation, rather than

punishment. See § 985.02(3), Fla. Stat. Florida’s juvenile system focuses on a

rehabilitative model of treatment designed to effect positive behavioral change.

      44.    There are 21 juvenile secure detention centers (Secure Detention)

operated by DJJ in Florida. Secure Detention is a physically restrictive facility that

houses children pending adjudication, disposition, or placement, or pursuant to

court order. Fla. Admin. Code. R. 63G-2.014(58). Children taken into custody by

law enforcement are screened by DJJ using a standardized Detention Risk

Assessment Instrument (DRAI) to determine if they should be placed into Secure


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Detention. Secure Detention is used for youth who are held pursuant to a court

order or charge of violating the law following an assessment that less restrictive

alternatives are not appropriate. § 985.255, Fla. Stat. While a child’s time in Secure

Detention can vary from days to weeks, Florida law requires that a child

adjudicated delinquent and awaiting placement in a DJJ program must remain in

Secure Detention until that placement occurs. § 985.27, Fla. Stat.

       45.     According to DJJ, in Fiscal Year (FY) 2017-18, there were 14,010

youth placed into DJJ Secure Detention statewide.2 Approximately 5,314 of these

children were 15 years old or younger. The majority, 54%, were Black, 15% were

Hispanic, and 30% were White. Id.

       46.     During FY 2017-18, the average daily population in DJJ Secure

Detention was 1,057 youth. Id. The statewide average length of stay for a child in

Secure Detention was 14 days. Id.

Solitary Confinement in DJJ Detention Centers

       47.     Solitary confinement is defined by the National Commission on

Correctional Health Care as “the housing of an adult or juvenile with minimal to

rare meaningful contact with other individuals.”3 Defendants call this practice


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           See Florida Department of Juvenile Justice, Comprehensive Accountability Report, at 3,
(2018), http://www.djj.state.fl.us/docs/car-reports/(2017-18-car)-detention-(mg).pdf?sfvrsn=2
(last visited September 4, 2019).
         3
           Nat’l Comm’n on Corr. Health Care, Solitary Confinement (Isolation), (Apr. 2016),
https://www.ncchc.org/filebin/Positions/Solitary-Confinement-Isolation.pdf (last visited
September 4, 2019).
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“behavioral confinement” or “confinement,” but DJJ’s policy and practice is

solitary confinement: children are isolated from others in a locked room for an

indefinite period of time with no meaningful social interaction or environmental

stimulation. See Fla. Admin. Code. R. 63G-2.022(1) & (4).

      48.    Under DJJ’s policy and practice, children in Secure Detention are

subjected to solitary confinement for hours or days at a time. Although DJJ’s

Secure Detention Facility Operating Procedures impose a limit on confinement of

72 hours (for non-medical reasons), in practice, DJJ regularly exceeds this time

limit. When children go into solitary confinement, they have no idea if, or when,

they are getting out.

      49.    DJJ, through policy and practice, also subjects many children to

repeated periods of solitary confinement, increasing the length of time that they

cumulatively spend in isolation. Although research shows that isolating children in

solitary confinement can exacerbate the agitation and behavior that led to solitary

confinement in the first place, DJJ responds to these behaviors with additional

repeated stays in confinement, creating a vicious cycle. The same children may

also have been put in solitary confinement one or more times during previous stays

in Secure Detention. For example, Plaintiff G.H. has been isolated in solitary

confinement three times for a total of six days. Plaintiff B.W. has spent eight days

(cumulatively) in solitary confinement during multiple separate incidents. This


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repeated exposure to solitary confinement only compounds the risk of harm for

children.

      50.    DJJ’s policy and practice is to isolate children in solitary confinement

for any reason, including for minor misbehavior such as talking back to staff, using

a computer, not following directions, or cursing. Horseplay and cursing were the

bases for Plaintiff G.H. and B.W.’s confinement. DJJ also put Plaintiff B.W. in

solitary confinement for failing to attend school. DJJ put Plaintiff R.L. in solitary

confinement for peeling paint off her cell wall. This low threshold results in a

shocking number of children subjected to solitary confinement in Secure

Detention.

      51.    DJJ’s own data demonstrates that it isolates thousands of children in

Secure Detention in solitary confinement each year for many hours or days at a

time. For example, over a recent 11-month period, DJJ isolated 4,310 children in

confinement for a total of 11,738 times. Children in some jurisdictions are

spending up to 107 hours (i.e., over 4 days) at a time in isolation. The statewide

average length of time in solitary confinement is 45 hours, with many detention

centers isolating hundreds of children for at least 24 hours. Based on the average

number of youth in Secure Detention in a year, approximately 30% of children are

isolated in solitary confinement at some point during their time in custody. The

result of DJJ’s policies and practices is that thousands of children in DJJ’s care are


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subject to a substantial risk of serious harm from cumulatively spending extensive

periods of time isolated in confinement.

      52.    Defendants isolated each of the named Plaintiffs in solitary

confinement in Secure Detention, some of them repeatedly, for periods ranging

from several hours to days at a time, pursuant to the policies and practices as

described herein.

Deprivations and Conditions in Solitary Confinement in DJJ Detention Centers

      53.    DJJ subjects children to solitary confinement by either locking them

in the cells they typically live in or by placing them in separate confinement cells

for the duration of the confinement period. No matter where solitary confinement

takes place, the deprivations and conditions are similar.

      54.    Once isolated, children cannot come out of their tiny cells except to

shower for a few minutes each day. DJJ also ensures that there is nothing for the

children to do for the duration of their confinement. DJJ does not permit them to

go to school or receive education services. There is no recreation or programming

and no access to phones, radios, or televisions. Children cannot have any personal

property or writing materials.

      55.    While in confinement, DJJ prohibits normal human contact. The only

way children can speak to someone is by banging on their cell door to try to attract

the attention of staff, or by yelling loudly so staff or another child may hear them.


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Staff will often just attempt to communicate with a child through the solid metal

door rather than opening the door to talk to a child face-to-face and hear the child

clearly.

      56.    These deprivations of normal social interactions and environmental

stimulation are exacerbated by the austere and decrepit conditions inside the cells.

Many of the DJJ-operated detention centers are old, dirty, decaying buildings

suffering from age and disrepair that is magnified when locked around-the-clock in

a tiny cell. The paint on the walls is peeling off. There is graffiti on the cell walls.

DJJ has failed to maintain the plumbing which causes toilets to back up and flood

the cells. Even when not backed up, the toilets reek of human waste. Some cells

have gnats, ants, or bugs that bite children. DJJ requires children to eat alone in

their cells in these conditions.

      57.    The cells where DJJ isolates children are small and cramped spaces.

The only fixtures are a toilet, sink, and concrete slab to sit or lay on. DJJ regularly

refuses to provide children with a mat for the concrete slab until nighttime. DJJ

refuses to turn off the lights in the cells, leaving children under fluorescent lights

24 hours a day. The cells have a large solid metal door with a window that is

difficult to see through unless staff is standing directly in front of the cell. In many

cells, there is no window to the outside allowing children to see the sun or sky.




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Devastating Effects of Isolation in DJJ Detention Facilities

      58.    Children subjected to confinement in Secure Detention experience

insomnia, depression, hallucinations, agitation, anger, fear, distress, anxiety,

sadness, mistrust, and feelings of hopelessness and abandonment. Children begin

to experience these effects almost immediately and they only worsen with time in

solitary confinement. Children are at risk of permanent damage from the harms of

solitary confinement.

      59.    Within minutes of isolation in Secure Detention, harms will often

begin to manifest in obvious symptoms of pain and suffering. Some children will

cry out, loudly bang on and repeatedly kick the metal door and scream to be let

out. Some children withdraw from their surroundings and try to cope, alone, with

negative or depressive thoughts while they sit and listen to other children scream.

For example, Plaintiff R.L. felt more anxious because she was trapped in isolation,

cried, and could not sleep. Plaintiff G.H. flooded the solitary confinement cell and

banged on the door because he felt anxious and depressed. Other children smear

their feces on the walls of the confinement cells.

      60.    Defendants know there is a serious risk of harm for children in

solitary confinement, including new and worsening mental illness symptoms, self-

harming behaviors, and suicide, but do not, in practice, implement any policies to

eliminate this risk of harm. For example, DJJ does not have a policy to exclude


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children with mental illness or who are at a heightened risk of suicide or self-harm

from solitary confinement. DJJ placed Plaintiff G.H. in solitary confinement even

though he was a suicide risk and actually tried to choke himself by tying his pants

around his neck while in solitary. After a detention staff person observed this

behavior, DJJ kept G.H. in solitary confinement, where he tied his pants around his

neck and tried to choke himself again.

      61.    DJJ, through policy and practice, does not provide an assessment by a

mental health professional before it subjects a child with mental illness to solitary

confinement. DJJ also fails to regularly provide a mental health status examination

by a qualified professional within one hour after confinement begins and at regular

intervals as long as a child is in solitary confinement despite a scant Facility

Operating Procedure requiring a licensed mental health professional to “review the

status” of children in solitary confinement every 24 hours. DJJ also fails to provide

mental health treatment for children in solitary confinement; effective monitoring

for signs and symptoms of suicide in solitary confinement; examination or

treatment after release from solitary confinement to address any lasting effects; or

meaningful mental health interventions and de-escalation services in response to

obvious signs of suffering and pain. So, DJJ conducted no mental health evaluation

of R.L. before placing her in solitary confinement even though it was aware of her

bipolar disorder and major depressive disorder. Likewise, mental health staff failed


                                          24
to effectively intervene with respect to G.H.’s attempts to choke himself in

confinement. As a result of DJJ’s failure to develop and implement adequate

policies and procedures recognized by experts as necessary to eliminate the known

risk of harm, the named Plaintiffs and members of the class are suffering from the

damaging effects that mirror those reported in the research about children

subjected to solitary confinement.

Well Known Risks of Harm of Solitary Confinement for Juveniles

      62.    Medical, psychiatric, and scientific professionals agree that solitary

confinement is harmful to both adults and children. These experts agree that

children isolated in solitary confinement are more susceptible to harm because they

are still developing socially, psychologically, and neurologically.

      63.    The risk of harm from solitary confinement has been well-recognized

by the Supreme Court, including over a century ago:

      [People subject to isolation] fell, after even a short confinement into a
      semi-fatuous condition, from which it was next to impossible to
      arouse them, and others became violently insane; others still,
      committed suicide; while those who stood the ordeal better were not
      generally reformed, and in most cases did not recover sufficient
      mental activity to be of any subsequent service to the community.

In re Medley, 134 U.S. 160, 168 (1890). More recently, the Supreme Court noted

in 2015 that prolonged isolation “exacts a terrible price,” including “common side-

effects … [of] anxiety, panic, withdrawal, hallucinations, self-mutilation, and

suicidal thoughts and behaviors.” Davis v. Ayala, 135 S.Ct. 2187, 2210 (Kennedy,
                                         25
J., concurring) (citing Grassian, Psychiatric Effects of Solitary Confinement, 22

Wash. U.J.L. & Pol’y 325 (2006)).

       64.    The psychological harms of solitary for adults have been widely

documented by experts. Solitary confinement can exacerbate mental illness or

bring about symptoms in people with no prior diagnosis. These psychological

harms include: anxiety, depression, insomnia, confusion, withdrawal, emotional

flatness, cognitive disturbances, hallucinations, paranoia, psychosis, and

suicidality. 4 These effects start to manifest within hours or days of isolation,

worsening with time and causing permanent damage to individuals, especially

those who linger in isolation for extended periods. For some, solitary confinement

“can be as clinically distressing as physical torture.” 5

       65.    Experts also recognize a substantial risk of harm for pregnant women

in solitary confinement. They cannot receive the exercise and movement that they

need to maintain a healthy pregnancy. Common pre-existing feelings of stress and

depression are exacerbated which increase the risk of miscarriage and birth

complications.



       4
           Craig Haney, Mental Health Issues in Long-Term Solitary and “Supermax”
Confinement, 49 CRIME & DELINQ., at 124, 130-131 (2003),
https://journals.sagepub.com/doi/abs/10.1177/0011128702239239 (last visited September 4,
2019).
         5
           Jeffrey Metzner & Jamie Fellner, Solitary Confinement and Mental Illness in U.S.
Prisons: A Challenge for Medical Ethics, 38 J. AM. ACAD. PSYCHIATRY & L. 104 (2010),
http://jaapl.org/content/jaapl/38/1/104.full.pdf (last visited September 4, 2019).
                                              26
       66.    Children suffer from a heightened risk of psychological and physical

harm from solitary confinement. Based on knowledge of the brain development

and the impact of adverse childhood experiences on the physical, mental, and

behavioral health of children and adolescents, the American Academy of Child and

Adolescent Psychiatry has asserted that children subjected to solitary confinement

in the criminal justice system are at particular risk for these adverse reactions.

       67.    The substantial risk of serious harm to children is also established

through a well-recognized national study by the Department of Justice’s Office of

Juvenile Justice and Delinquency Prevention concerning the correlation between

juvenile suicide and confinement in a locked room in Secure Detention. The study

found that half of youth who committed suicide in juvenile facilities were in

isolation at the time of their death and more than 60% percent of young people

who committed suicide in detention while in confinement had a history of being

held in isolation.6 Of the children placed in solitary confinement in secure

detention centers, 40% of suicides occurred within the first 72 hours.7

       68.    Researchers have also found that when juvenile correctional officials

promote policies that isolate youth from their peers, alienate them, and deny them



       6
          Lindsay Hayes, Juvenile Suicide in Confinement, A National Survey, Office of Juvenile
Justice Delinquency and Prevention, (2009), at vii.,
https://www.ncjrs.gov/pdffiles1/ojjdp/213691.pdf (last visited September 4, 2019).
        7
          Id.
                                              27
social integration, children are exposed to higher rates of suicidal behavior. 8 This

evidence demonstrates a substantial risk of serious harm that can be fatal for

children exposed to solitary confinement for even short periods of time. Despite

this known risk of serious harm, DJJ subjects children who have attempted suicide

or engaged in self-injury to solitary confinement in Secure Detention. In Plaintiff

G.H.’s case, DJJ continued to keep him in solitary confinement after observing him

trying to choke himself.

       69.     Medical research on the adolescent brain explains why children are

more vulnerable to risk of harm, including long-term effects. 9 Psychologically,

children are different from adults, making their time spent in isolation even more

difficult and the developmental, psychological, and physical damage more

comprehensive and lasting.10 They experience time differently – a day to a child

feels longer than a day to an adult – and have a greater need for social stimulation.

Id. In adolescents, the connections between the frontal lobe and the mid-brain have


       8
              Id. at 27.
       9
             The broad consensus among the scientific and professional community about the
psychological vulnerability of children, which places them at an increased risk of harm, has been
emphasized and recognized in decisions of the Supreme Court See Graham v. Florida, 560 U.S.
48, 68-69 (2010) (juveniles cannot be sentenced to life without parole for non-homicide offenses
relying on “developments in psychology and brain science continue to show fundamental
differences between juveniles and adult minds[,]”); see also Roper v. Simmons, 543 U.S. 551,
573-74 (2005) (finding that the vulnerabilities and differences between juveniles and adults
means that the death penalty cannot be imposed against juveniles); Miller v. Alabama, 132 S. Ct.
2455, 2467 (internal quotations and citations omitted) (youth “is more than a chronological fact .
. . it is a moment and condition of life when a person may be most susceptible to influence and to
psychological damage.”).
           10
               Nat’l Comm’n on Corr. Health Care, Solitary Confinement (Isolation), supra note 3.
                                               28
not fully developed. As a result, trauma to children can cause permanent changes

in brain development and create a higher risk of developing psychiatric conditions

like paranoia and anxiety. 11

       70.    The risk of harm to children from solitary confinement, including for

suicide, is also increased by the disproportionately high incidence of preexisting

mental illness among children involved in the juvenile justice system. Many

children who come into contact with the juvenile justice system have diagnosed, or

undiagnosed, mental illness or have been receiving special education services prior

to placement in Secure Detention. National data indicates that up to 75% of

children in the juvenile justice system meet the criteria for a mental health

disorder. 12 DJJ estimates that over 65% of youth under the agency’s care have a

mental illness or substance abuse issue. 13

       71.    For children with pre-existing mental illness, the serious

psychological harm caused by solitary confinement is even more devastating. The

combination of the lack of any meaningful activity or normal social contact and the

stressors of living in a dilapidated, filthy, and loud housing area for extended

periods results in a heightened risk of worsening mental health symptoms for

       11
            National Child Traumatic Stress Network, Justice Consortium Attorney Workgroup
Subcommittee, Trauma-Informed Legal Advocacy: A Resource for Juvenile Defense Attorneys,
(2018), at 3-4, https://www.nctsn.org/resources/trauma-informed-legal-advocacy-a-resource-for-
juvenile-defense-attorneys (last visited September 4, 2019).
        12
            Lee A. Underwood & Aryssa Washington, Mental Illness and Juvenile Offenders, 13
INT’L J. ENVTL. RES. PUB. HEALTH, at 1, 3, (2016).
        13
           See http://www.djj.state.fl.us/services/health (last visited September 4, 2019).
                                              29
children. When children engage in behaviors that are a manifestation of their

disabilities, such as yelling or striking their cell doors with their hands, heads, or

bodies, DJJ penalizes these children by adding more time in solitary confinement.

Plaintiff G.H. continued to be held in solitary confinement after he banged on his

cell door and flooded his cell – behaviors that were related to his disabilities. These

actions by DJJ only add to the danger for youth with mental illness, such as G.H.

and R.L., who have an increased risk for suicide.

       72.     A substantial number of children exposed to solitary confinement are

at further risk of harm because they also suffer from trauma. This trauma can

include physical or sexual abuse; being a victim of or witnessing violence; loss of

family members to death, imprisonment, or abandonment; or a child’s removal

from the home through the dependency system or due to arrest. 14 Children in the

juvenile justice system have much higher rates of Adverse Childhood Experiences

(ACEs) such as witnessing or being a victim of violence. 15 A recent study shows

that 50% of youth in Florida’s juvenile justice system report four or more ACEs. 16

The use of solitary confinement places these children at risk for magnifying

       14
            Burrell, S., Trauma and the Environment of Care in Juvenile Justice Institutions, at 1
(2013), https://ylc.org/wp-
content/uploads/2018/11/jj_trauma_brief_environofcare_burrell_final.pdf (last visited
September 4, 2019).
         15
            Finkel, E., Florida Study Confirms Link Between Juvenile Offenders, ACEs; Rates
Much Higher Than CDC’s ACE Study, (2014), https://acestoohigh.com/2014/08/20/florida-
study-confirms-link-between-juvenile-offenders-aces-rates-much-higher-than-cdcs-ace-study/
(last visited September 4, 2019).
         16
            Id.
                                                30
existing trauma; evidence shows that this can have serious long-term harmful

impacts on health and well-being. 17

       73.    Recognizing children’s greater vulnerability to harm, numerous

psychiatric, medical, scientific, correctional, and legal authorities support the

elimination of solitary confinement for juveniles. The American Academy of Child

and Adolescent Psychiatry, the American Medical Association, the National

Commission on Correctional Health Care, the American Public Health

Association, and the Council of Juvenile Correctional Administrators have called

for juvenile and adult correctional facilities to stop the use of solitary confinement

of children. These authorities articulate how juveniles’ particular vulnerabilities

expose them to a risk of adverse reactions from isolation.

       74.    The Council of Juvenile Correctional Administrators, for example,

opposes the use of solitary confinement for juveniles based on research that shows

that placing detained youth in isolation has “negative public safety consequences,

does not reduce violence and likely increases recidivism. Subjecting developing

adolescents to isolation can cause permanent psychological damage and multiple

studies suggest it is highly correlated with suicide. [] Solitary confinement is the

most harmful and extreme form of isolation and has damaging impacts.” 18


       17
           Nat’l Comm’n on Corr. Health Care, Solitary Confinement (Isolation), supra note 3.
       18
           Council of Juvenile Correctional Administrators, Toolkit: Reducing the Use of
Isolation, at 7, (March 2015),
                                              31
       75.    In concluding that solitary confinement should be banned for

juveniles, in 2012, the United States Attorney General’s National Task Force on

Children Exposed to Violence concluded, “Nowhere is the damaging impact of

incarceration on vulnerable children more obvious than when it involves solitary

confinement,” including increased vulnerability to suicide. 19 In 2016, the United

States Department of Justice ended the practice of using solitary confinement for

juveniles in all federal prisons because of the growing consensus of the risk of

harm for children. 20

       76.    Human rights organizations and authorities also recognize the harms

of solitary confinement for juveniles and advocate for an end to the practice. The

World Health Organization 21 and the United Nations have recognized that solitary

confinement is particularly harmful to a child’s psychological well-being and

cognitive development.22 In a 2015 report, the United Nations Special Rapporteur


http://dcfs.nv.gov/uploadedFiles/dcfsnvgov/content/Programs/JJS/CJCA%20Toolkit%20Reducin
g%20the%20use%20of%20Isolation.pdf (last visited September 4, 2019).
         19
            Report of the Attorney General’s National Task Force on Children Exposed to
Violence, at 178 (Dec. 12, 2012), https://www.justice.gov/defendingchildhood/cev-rpt-full.pdf
(last visited September 4, 2019).
         20
            See Fact Sheet: Department of Justice Review of Solitary Confinement, (Jan. 25,
2016), https://obamawhitehouse.archives.gov/the-press-office/2016/01/25/fact-sheet-department-
justice-review-solitary-confinement (last visited September 4, 2019).
         21
            Prisons and Health, The World Health Organization Ch. 6 (S. Enggist, L. Moller, G.
Galea, C. Udesen, eds., 2014),
http://www.euro.who.int/__data/assets/pdf_file/0005/249188/Prisons-and-Health.pdf?ua=1 (last
visited September 4, 2019).
         22
            See U.N. Convention on the Rights of the Child, opened for signature Nov. 20, 1989,
1577 U.N.T.S. 3 (entered into force Sept. 2, 1990) (“CRC”); U.N. Guidelines for the Prevention
of Juvenile Delinquency, G.A. Res. 45/112, Annex, 45 U.N. GAOR Supp. (No. 49A), U.N. Doc.
                                              32
on Torture condemned the solitary confinement of children for any duration as

torture and acknowledged the high risk of mental illness and higher rates of suicide

and self-harm for juveniles in solitary confinement.23

       77.     Many state correctional systems also recognize the substantial risk of

harm to juveniles caused by solitary confinement and have voluntarily

implemented measures to eliminate its use. At least 29 states have prohibited

juvenile detention facilities from using disciplinary isolation, or any isolation for

juveniles. 24 Five states – New York, New Jersey, North Carolina, Nebraska, and

New Mexico – have also banned solitary confinement for juveniles in their state

prison systems. 25


A/45/49, at 201 (Dec. 14, 1990) (“The Riyadh Guidelines”); U.N. Rules for the Protection of
Juveniles Deprived of their Liberty, G.A. Res. 45/113, Annex, 45 U.N. GAOR Supp. (No. 49A),
U.N. Doc. A/45/49, ¶ 67 (Dec. 14, 1990) (“The Beijing Rules”) (“[a]ll disciplinary measures
constituting cruel, inhuman or degrading treatment shall be strictly prohibited, including corporal
punishment, placement in a dark cell, closed or solitary confinement or any other punishment
that may compromise the physical or mental health of the juvenile concerned.”).
         23
            Interim Rep. of the Special Rapporteur on Torture and Other Cruel, Inhuman or
Degrading Treatment or Punishment, U.N. Doc. A/66/268, at ¶ 77 (Aug. 5, 2011),
http://solitaryconfinement.org/uploads/SpecRapTortureAug2011.pdf (last visited September 4,
2019).
         24
            See Lowenstein Sandler LLP & Lowenstein Center for the Public Interest, 51
Jurisdiction Survey of Juvenile Solitary Confinement Rules in Juvenile Justice Systems, (July
2016), https://www.lowenstein.com/media/2825/51-jurisdiction-survey-of-juvenile-solitary-
confinement-rules-72616.pdf, (last visited September 4, 2019).
         25
            See Peoples, et al. v. Fischer, Docket No. 11-cv-2694 (S.D.N.Y.), at ECF No. 137-1,
https://www.clearinghouse.net/chDocs/public/PC-NY-0062-0011.pdf (last visited September 4,
2019); see also Act 314, 218th Leg., Assembly No. 314 (N.J. 2019), at 2-3,
https://www.njleg.state.nj.us/2018/Bills/A0500/314_R1.PDF, (last visited July 24, 2019);
Blythe, Anne, N.C. Prisons Halt Solitary Confinement for Inmates 17 and Younger, The News &
Observer, June 15, 2016, https://www.newsobserver.com/news/local/crime/article84025297.html
(last visited July 24, 2019); L.B. 686, 2019 Leg., 106th Session, (Neb. 2019), at 7,
https://nebraskalegislature.gov/FloorDocs/106/PDF/Slip/LB686.pdf, (last visited September 4,
                                                33
       78.    Despite this national trend to eliminate the solitary confinement of

children, Defendants continue to use this dangerous and inhumane method on

children entrusted to the care of DJJ for redirection and rehabilitation.

       79.    It is clear that putting children in solitary confinement poses a risk of

serious and long-term psychological and physiological harm. The prevailing

medical, scientific, professional, and correctional authorities demonstrate that it

violates contemporary standards of decency in a civilized society to expose

children in Secure Detention to such a risk.

No Legitimate Penological Purpose Supports the Use of Solitary Confinement

       80.    There is no legitimate penological purpose that supports DJJ’s policy

and practice of subjecting children to solitary confinement in Secure Detention

given the established substantial risk of serious harm and the other available

options to address the behavioral needs of children. Solitary confinement is not

only harmful to children, it does not reduce future misbehavior.

       81.    DJJ does not use solitary confinement in Secure Detention sparingly

as a last resort to respond to immediate serious threats of physical harm by children

to themselves or others. Rather, DJJ uses solitary confinement for any or no

reason. In practice, DJJ subjects children to solitary confinement in Secure



2019); and H.B. 364, 54th Leg., 1st Session, (N.M. 2019), at 2,
https://www.nmlegis.gov/Sessions/19%20Regular/final/HB0364.pdf, (last visited September 4,
2019).
                                            34
Detention for minor issues, including talking back to staff, using a computer

without authorization during school testing, not following staff directions,

horseplay, or cursing. Indeed, Defendants have routinely subjected the named

Plaintiffs and members of the class to solitary confinement in circumstances that

do not present a “volatile situation” in which a “youth’s sudden or unforeseen

onset of behavior imminent and substantially threatens the physical safety of others

or himself.” Fla. Admin. Code. R. 63G-2.014(7).

      82.    DJJ, through unwritten policy and practice, subjects children to

solitary confinement for periods of time (i.e., hours or days) that exceed any

legitimate penological goal or need to address behaviors that “imminently”

threaten their safety or the safety of others as described in written DJJ policies. For

example, DJJ subjects children to solitary confinement for hours or days after a

physical altercation and after they are calm and demonstrating positive behavior.

Defendants know that children are isolated in solitary confinement in

circumstances that lack any legitimate penological justification based on, inter

alia, their review of confinement data and the required notifications to the

Assistant Secretary to isolate a child in confinement beyond 24 or 72 hours.

      83.    The statewide average length of solitary confinement for Secure

Detention centers is 45 hours, with many detention centers confining children

much longer. This exceeds the amount of time that would be arguably permissible


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even for behaviors that could pose an imminent physical threat to self or others.

Instead, DJJ’s solitary confinement times for children extend well past the

purported threat have subsided, including for the named Plaintiffs.

      84.    DJJ’s policy and practice for solitary confinement in detention is

contrary to well established juvenile detention and correctional standards. Instead

of isolating children for prolonged periods as Defendants do, many other

correctional systems that have addressed the harms posed by the solitary

confinement of juveniles have reformed their practices. These states use

confinement, if at all, only as a last resort after de-escalation techniques and

behavior interventions have been exhausted by trained individuals; and only for the

shortest duration possible, with strict time limits, to remedy a specific, immediate

and serious threat to an individual or other’s physical safety. Confinement is never

used as punishment. They provide programming and services to avoid the use of

confinement; ensure that staff are appropriately trained in the use of verbal de-

escalation, restorative justice, and behavior intervention techniques and that these

are used and exhausted to defuse situations; require approvals for initial and

continued confinement placement; consistently provide mental health and medical

assessments, services, and oversight by qualified professionals before and during

confinement; and require confinement use to be recorded, reviewed, and analyzed.




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      85.       DJJ recognizes that standards such as behavior interventions,

prohibiting isolation for children at risk for suicide, and using conflict resolution

strategies, should be used; DJJ, in fact, uses some of these in its post-adjudication

residential program policy concerning room restriction. See Fla. Admin. Code. R.

63E-7.009. This policy, however, does not apply to Plaintiffs in Secure Detention.

      86.       There is also no legitimate penological justification for DJJ’s policy

and practice of denying children access to basic human needs while in solitary

confinement. DJJ deprives children in solitary confinement of: required daily

educational instruction; outdoor recreation; reading and writing materials; a clean

cell free from the smell or presence of human waste; and normal human

interactions.

Defendant Marstiller is Deliberately Indifferent to the Serious Risk of Harm

      87.       Defendant Marstiller has known of and disregarded a substantial risk

to Plaintiffs’ health and safety posed by the use of solitary confinement in DJJ

Secure Detention. Defendant Marstiller has failed to stop subjecting children to

solitary confinement in detention despite the knowledge of the risk of physical and

psychological harm to children.

      88.       Defendant Marstiller has been repeatedly warned about, but failed to

eliminate, the risks of harm to children from solitary confinement. For example, in

February 2011, a lawsuit was brought against the DJJ Secretary by a class of


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children with mental illness and developmental disabilities who were adjudicated

delinquent and in DJJ custody at the North Florida Youth Development Center 26 in

J.B. v. Walters, Case No. 11-83-RH-WCS (N.D. Fla.).

       89.     The allegations in J.B. v. Walters included, inter alia, that the DJJ

Secretary subjected youth to an unconstitutional policy, pattern, and practice of the

punitive use of isolation and restraints. Id. The Complaint alleged that DJJ was

subjecting children diagnosed with serious mental illness, trauma, learning

disabilities, intellectual disabilities, and who had engaged in acts of self-injury or

attempted suicide to a risk of harm by placing them in punitive isolation in

dangerous conditions. Id. Through that litigation, the DJJ Secretary was

specifically informed that, “Isolation is contraindicated for adolescents with

developmental disabilities, mental illness and self-harming behaviors.” Id., Doc. 1

(Complaint), ¶¶ 66-70. In response to this litigation, the DJJ Secretary and the

agency made a decision to close the institution, and amend its rules to eliminate the

use of solitary confinement in residential programs (i.e., post-adjudication). They

deliberately chose not to eliminate the use of solitary confinement in Secure

Detention.




       26
          This program was referred to as the North Florida Youth Development Center by DJJ.
It was comprised of two DJJ residential facilities adjacent to each other on the same campus: the
Arthur G. Dozier School for Boys and the Jackson Juvenile Offender Correctional Center.
                                               38
       90.     On December 1, 2011, the U.S. Department of Justice Civil Rights

Division (DOJ) also sent the DJJ Secretary (and DJJ) a findings letter following its

investigation of the North Florida Youth Development Center, concluding that

“youth were subject to lengthy and unnecessary isolation,” youth with mental

health needs or at risk for suicide were in danger and improperly subjected to

solitary confinement, and youth confined in the isolation units did not consistently

receive required services, such as education materials, regular mental health

evaluations, or daily large muscle exercise. Findings Letter, at 4, 17-18. 27

       91.     Defendant Marstiller’s knowledge of the risk of harm to children is

apparent in the differences in DJJ’s written policies concerning what forms of

isolation are permissible in DJJ residential post-adjudication programs compared to

Secure Detention. Defendants amended DJJ’s administrative rules several years

ago to explicitly prohibit the use of punitive isolation in residential programs.

Defendants only authorize the limited use of controlled observation as an

immediate short-term crisis intervention when non-physical interventions are not

effective, and in response to “sudden or unforeseen onset of behavior that

substantially threatens the physical safety of others and compromises security.”

Fla. Admin. Code R. 63E-7.002(20). Defendant Marstiller authorizes, approves,

       27
           See U.S. Dep’t of Justice, Civil Rights Division, Investigation of the Arthur G. Dozier
School for Boys and the Jackson Juvenile Offender Center, Marianna, Fla., (Dec. 1, 2011),
https://www.justice.gov/sites/default/files/crt/legacy/2011/12/02/dozier_findltr_12-1-11.pdf (last
visited September 4, 2019).
                                                39
ratifies, and oversees these DJJ policies, practices, and procedures. See §

20.316(1)(c), Fla. Stat. see also §§ 120.54 (2) & (3), Fla. Stat.

      92.    Similarly, in DJJ residential programs, Defendants explicitly prohibit

isolation or solitary confinement behind a closed door. They only authorize “room

restriction” as part of a behavior management system. Even then, room restriction

cannot be used for children at risk for suicide, cannot exceed four hours, requires

supervisor approval, requires conflict and behavior intervention by staff, happens

in a child’s room with the door open, and requires children to get all services and

programming during this brief time separation. See Fla. Admin. Code. R. 63E-

7.009(4).

      93.    Despite the elimination of solitary confinement in DJJ’s residential

programs, Defendants have refused to eliminate solitary confinement in Secure

Detention for the same children. As a result, under DJJ’s policies and practices,

children who purportedly must be isolated and deprived of education, outdoor

recreation, writing or reading materials, social stimulation, and normal human

interactions suddenly and arbitrarily no longer require such measures days or

weeks later after they are placed in a DJJ residential program.

      94.    Defendants review the data maintained by DJJ concerning the use of

solitary confinement in DJJ-operated secure detention centers. This includes, at a

minimum, all records kept of any confinement, and notifications to the Assistant


                                          40
Secretary for Detention Services of any confinement placements permitted beyond

24 hours or the need for any confinement hearing if a child is held in solitary

beyond 72 hours. Fla. Admin. Code. 63G-2.022(e) & (h).

      95.    Defendants were also warned of the risk of harm to children subject to

solitary confinement in detention through the following: several letters or emails

from counsel with Florida Legal Services since September 2018 behalf of youth

subject to solitary confinement who had engaged in self-harm and were at risk for

suicide; grievances filed by children, including Plaintiffs, asking to be removed

from solitary confinement or not placed in confinement again because they posed

no imminent physical risk of harm to themselves or others but were instead at risk

of harm in confinement; their own knowledge of children with mental health

conditions or physical injuries like broken or sprained arms, children who have

attempted suicide by wrapping sheets around their neck, and children who have cut

themselves with pencils or other objects, all of whom were still placed in solitary

confinement; and the DJJ Secretary’s trip to the Missouri Youth Services Authority

to learn about the “Missouri Model” of juvenile justice which eliminated the

practice of juvenile solitary confinement.

Defendants’ Policies and Practices Discriminate Against Children with
Disabilities

      96.    DJJ, through its policies and practices, discriminates against children

with disabilities in its use of solitary confinement in Secure Detention. It fails to
                                           41
reasonably modify its solitary confinement policies and procedures when needed to

avoid discrimination on the basis of disability. It fails to ensure that children with

disabilities in solitary confinement have access to, are permitted to participate in,

and are not denied the benefits of programs, services, and activities because of

their disabilities. It fails to ensure that children with disabilities in isolation are

housed in the most integrated setting appropriate to their needs.

       97.    DJJ fails to reasonably modify its solitary confinement policies and

procedures to ensure that children with disabilities are not placed in solitary

confinement, or have their time extended, because of their disabilities. For

example, children with psychiatric or developmental disabilities have difficulty

regulating their behaviors or respond erratically or inappropriately to conflict,

stress, trauma, staff, and other youth. For example, Plaintiffs R.L. and G.H.,

because of their disabilities, do not have effective coping skills to manage the

conditions and conflicts inherent in Secure Detention and often react to stressful

situations with emotional outbursts and impulsive behaviors. Some children also

have a hard time understanding facility rules or directions. DJJ fails to identify or

recognize behavior as disability related and provide the accommodations, supports

and services that these children need. Instead, DJJ responds by labeling this as

misbehavior and sends them, including Plaintiffs, to, or extends their time in,

solitary confinement.


                                             42
      98.    DJJ also fails to modify its policies and procedures while children

with disabilities are in solitary confinement. This includes failing to offer adequate

out-of-cell time, social interaction, environmental stimulation, mental health

treatment, recreation, and school services to prevent mental health symptoms from

becoming worse. As a result, many children with psychiatric and developmental

disabilities in isolation experience further harm and engage in self-harm such as

banging or punching the doors or concrete walls or, in the case of G.H., tying his

pants around his neck.

      99.    DJJ has failed to adopt policies and procedures to ensure that children

with disabilities are housed in the most integrated setting appropriate to meet their

needs, which cannot be met in solitary confinement. DJJ subjects children with

psychiatric and developmental disabilities, including Plaintiffs, to solitary

confinement when they engage in nonconforming behaviors due to their

disabilities, instead of housing them in settings where they can receive treatment

and services that they need to live safely and with others. For example, children

diagnosed with Attention Deficit Hyperactivity Disorder, including Plaintiff B.W.,

may exhibit impulsive behavior such as fighting with peers or being unable to

focus on or be attentive to staff directions. Rather than developing a system with

reasonable accommodations that positively reinforces preferred behaviors or uses




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mental health services to intervene, re-direct, and de-escalate situations, DJJ

punishes these children, including Plaintiff B.W., with solitary confinement.

      100. The unnecessary placement of children with disabilities in solitary

confinement perpetuates unwarranted assumptions and stereotypes that they are

incapable of participating in and benefiting from services, activities, and programs.

Such placement also causes harm by severely limiting their independence and daily

activities, including social contacts, educational advancement, and healthcare.

      101. Other juvenile justice systems have safely integrated children with

disabilities into their general population by providing adequate therapeutic and

programmatic services. DJJ fails to develop and implement such policies and

practices.

                       CLASS ACTION ALLEGATIONS

Plaintiff Class Definition

      102. Plaintiffs bring this action on behalf of themselves and all others

similarly situated pursuant to Federal Rules of Civil Procedure 23(a), (b)(1) and

(b)(2).

      103. Plaintiffs seek to represent a class consisting of children who are, or

will be, in custody in a DJJ-operated secure detention center and subject to solitary

confinement.



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Plaintiff Class Meets Fed. R. Civ. P. 23 Requirements

                        Numerosity: Fed. R. Civ. P. 23(a)(1)

        104. The class is so numerous that joinder of all members is impracticable.

Fed. Civ. P. 23(a)(1). The class is fluid, as children regularly enter and leave the

class as a result of DJJ’s policies and practices, but it includes, at a minimum,

hundreds of class members who are subject to confinement by DJJ on any given

day. Due to DJJ’s policies and practices, all class members are at substantial risk of

harm.

                       Commonality: Fed. R. Civ. P. 23(a)(2)

        105. There are questions of law and fact common to the members of the

class, including but not limited to:

   •    whether Defendants’ policies and practices regarding solitary confinement

        constitute cruel and unusual punishment proscribed by the Eighth and

        Fourteenth Amendments to the United States Constitution;

   •    whether Defendant Marstiller has been deliberately indifferent to the serious

        risk of mental and physical harm of class members; and

   •    whether there is no legitimate penological purpose for Defendants’ policies

        and practices regarding solitary confinement.

Defendants are expected to raise common defenses to these claims, including

denying that their actions violated the law.
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                        Typicality: Fed. R. Civ. P. 23(a)(3)

       106. The claims of the Plaintiffs are typical of those of the Plaintiff Class,

as their claims arise from the same policies, practices, or courses of conduct; and

their claims are based on the same theory of law as the class’ claims.

                        Adequacy: Fed. R. Civ. P. 23(a)(4)

       107. Plaintiffs are capable of fairly and adequately protecting the interests

of the Plaintiff Class because Plaintiffs do not have any interests antagonistic to the

class. Plaintiffs, as well as the Plaintiff Class members, seek to enjoin the unlawful

acts and omissions of Defendants. Plaintiffs are represented by counsel

experienced in civil rights litigation, prisoners’ rights litigation, and complex class

action litigation.

                        Fed. R. Civ. P. 23(b)(1)(A) and (B)

       108. This action is maintainable as a class action pursuant to Fed. R. Civ.

P. 23(b)(1) because the number of class members is several thousand children and

the prosecution of separate actions by individuals would create a risk of

inconsistent and varying adjudications, which in turn, would establish incompatible

standards of conduct for DJJ. In addition, the prosecution of separate actions by

individual members could result in adjudications with respect to individual




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members that, as a practical matter, would substantially impair the ability of other

members to protect their interests.

                               Fed. R. Civ. P. 23(b)(2)

      109. This action is also maintainable as a class action pursuant to Fed. R.

Civ. P. 23(b)(2) because DJJ’s policies, practices, actions, and omissions that form

the basis of this Complaint are common to and apply generally to all members of

the class, and the injunctive and declaratory relief sought is appropriate and will

apply to all members of the class. Defendants have acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole. All

state-wide confinement policies are centrally promulgated, disseminated, and

enforced from the central headquarters of DJJ. The injunctive and declaratory

relief sought is appropriate and will apply to all members of the Plaintiff class.

Disability Subclass Definition

      110. Plaintiffs bring this action on behalf of themselves and, pursuant to

Rule 23(a), (b)(1) and (b)(2) of the Federal Rules of Civil Procedure, on behalf of a

subclass of all qualified children with disabilities as that term is defined in 42

U.S.C. § 12102 and 29 U.S.C. § 705(9)(B), who are, or will be, in custody in a

DJJ-operated secure detention center and subject to solitary confinement (disability

subclass).

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Disability Subclass Meets Fed. R. Civ. P. 23 Requirements

                       Numerosity: Fed. R. Civ. P. 23(a)(1)

      111. The subclass is so numerous that joinder of all members is

impracticable. The class is fluid, as children with disabilities regularly enter and

leave the class as a result of DJJ’s confinement policies and practices. The exact

number of subclass members is unknown, but members are identifiable using

records maintained by DJJ in the ordinary course of business. On information and

belief, there are at least several hundred subclass members. Due to DJJ’s solitary

confinement policies and practices, all members of the subclass are at risk of

suffering from discrimination.

                      Commonality: Fed. R. Civ. P. 23(a)(2)

      112. There are questions of law and fact common to the members of the

subclass, including whether DJJ violates the Americans with Disabilities Act and

Section 504 of the Rehabilitation Act. DJJ is expected to raise common defenses to

these claims, including denying that its actions violate the law.

                        Typicality: Fed. R. Civ. P. 23(a)(3)

      113. The claims of Plaintiffs are typical of those of the disability subclass,

as their claims arise from the same policies, practices, or courses of conduct; and

their claims are based on the same theory of law as the class’ claims.



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                         Adequacy: Fed. R. Civ. P. 23(a)(4)

       114. Plaintiffs are capable of fairly and adequately protecting the interests

of the disability subclass because they do not have any interests antagonistic to the

subclass. Plaintiffs and the disability subclass members seek to enjoin the unlawful

acts and omissions of DJJ. Plaintiffs are represented by counsel experienced in

civil rights litigation, prisoner’s rights litigation, and complex class action

litigation.

                         Fed. R. Civ. P. 23(b)(1)(A) and (B)

       115. Since the number of the disability subclass is approximately several

thousand children, prosecution of separate actions by individuals would create a

risk of inconsistent and varying adjudications, which in turn would establish

incompatible standards of conduct for DJJ. In addition, the prosecution of separate

actions by individual members could result in adjudications with respect to

individual members that, as a practical matter, would substantially impair the

ability of other members to protect their interests.

                               Fed. R. Civ. P. 23(b)(2)

       116. This action is also maintainable as a class action pursuant to Fed. R.

Civ. P. 23(b)(2) because DJJ’s policies, practices, actions, and omissions that form

the basis of this Complaint are common to and apply generally to all members of

the subclass, and the injunctive and declaratory relief sought is appropriate and will


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apply to all members of the subclass. Defendants have acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole. All

state-wide confinement policies are centrally promulgated, disseminated, and

enforced from the central headquarters of DJJ. The injunctive and declaratory

relief sought is appropriate and will apply to all members of the disability subclass.

                               CLAIMS FOR RELIEF

                                    COUNT I
         (All Plaintiffs and the Plaintiff Class v. Defendant Marstiller)
                    42 U.S.C. § 1983; Fourteenth Amendment
      117. Paragraphs 1 through 116 are incorporated herein as if fully set forth.

      118. Through the policies and practices described herein, Defendant

Marstiller subjects all Plaintiffs and the Plaintiff Class to a substantial risk of

serious harm and deprives Plaintiffs and the Class of the minimal civilized measure

of life’s necessities and human dignity through the excessive and inappropriate use

of solitary confinement. These policies and practices are inconsistent with evolving

standards of decency in a civilized society. Defendant Marstiller has caused the

wanton infliction of pain upon Plaintiffs and the Plaintiff Class.

      119. There is no legitimate penological purpose for Defendant Marstiller’s

solitary confinement policies, practices, and procedures as authorized,




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implemented, and enforced, and they amount to the unnecessary and wanton

infliction of pain.

       120. These policies have been and continue to be implemented by

Defendant Marstiller and her agents, officials, employees, and all persons acting in

concert under the color of state law, in their official capacity, and are the direct and

proximate cause of the Plaintiffs’ and the Plaintiff Class’s ongoing deprivation of

rights secured under the Fourteenth Amendment to the United States Constitution.

       121. Defendant Marstiller has been and is aware of all deprivations

complained of herein and has condoned, or been deliberately indifferent, to such

conduct. Defendant also has been and is aware of the substantial risk of harm

caused by these deprivations and has done nothing to alleviate this risk of harm. It

should be obvious to Defendant Marstiller, and to any reasonable person, that the

conditions imposed on Plaintiffs and the Class cause tremendous mental anguish,

physical harm, suffering, and pain to such individuals.

       122. Plaintiffs have suffered harm and will continue to suffer harm, for

which there is no adequate remedy at law, as a direct and proximate cause of

Defendant’s violation of their rights under the Fourteenth Amendment to the

United States Constitution and 42 U.S.C. § 1983.

       123. These harms will continue unless enjoined by this Court.




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                                    COUNT II
         (All Plaintiffs and the Plaintiff Class v. Defendant Marstiller)
                       42 U.S.C. § 1983; Eighth Amendment
      124. Paragraphs 1 through 116 are incorporated herein as if fully set forth.

      125. Through the policies and practices described herein, Defendant

Marstiller subjects all Plaintiffs and the Plaintiff Class to a substantial risk of

serious harm and deprives Plaintiffs and the Class of the minimal civilized measure

of life’s necessities and human dignity through the excessive and inappropriate use

of solitary confinement. These policies and procedures are inconsistent with

evolving standards of decency in a civilized society. Defendant Marstiller has

caused the wanton infliction of pain upon Plaintiffs and the Plaintiff Class.

       126. There is no legitimate penological purpose for Defendant Marstiller’s

solitary confinement policies, practices, and procedures as authorized,

implemented and enforced, and they amount to the unnecessary and wanton

infliction of pain.

       127. These policies have been and continue to be implemented by

Defendant Marstiller and her agents, officials, employees, and all persons acting in

concert under the color of state law, in their official capacity, and are the direct and

proximate cause of the Plaintiffs’ and the Plaintiff Class’s ongoing deprivation of

rights secured under the Eighth Amendment to the United States Constitution.




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      128. Defendant Marstiller has been and is aware of all deprivations

complained of herein, and has condoned or been deliberately indifferent to such

conduct. Defendant also has been and is aware of the substantial risk of harm

caused by these deprivations and has done nothing to alleviate or reduce this risk

of harm. It should be obvious to Defendant Marstiller, and to any reasonable

person, that the conditions imposed on Plaintiffs and the Class cause tremendous

mental anguish, physical harm, suffering, and pain to such individuals.

      129. Plaintiffs have suffered harm and will continue to suffer harm, for

which there is no adequate remedy at law, as a direct and proximate cause of

Defendant’s violation of their rights under the Eighth Amendment to the United

States Constitution and 42 U.S.C. § 1983.

      130. These harms will continue unless enjoined by this Court.

                                   COUNT III
          (All Plaintiffs and the Disability Subclass v. Defendant DJJ)
                          Americans with Disabilities Act

      131. Paragraphs 1 through 116 are incorporated herein as if fully set forth.

      132. Plaintiffs and other Disability Subclass members are qualified

individuals with disabilities as defined in the Americans with Disabilities (ADA).

They have impairments that substantially limit one or more major life activities,

they have records of such impairments, or they are regarded as having such

impairments. All children in the Disability Subclass meet the essential eligibility

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requirements for the receipt of services of the participation in programs and

activities provided by Defendants. 42 U.S.C. § 12102(2); 42 U.S.C. § 12131(2).

      133. Plaintiffs and other Disability Subclass members are qualified to

participate in the services, programs, activities, and benefits provided to children in

DJJ custody within the meaning of Title II of the ADA.

      134. Defendant DJJ is a public entity as defined under 42 U.S.C. §

12131(1)(A) and it has an affirmative duty to create policies and procedures to

prevent discrimination based on disability.

      135. Defendant DJJ violates the ADA by failing to ensure that children

with disabilities have access to, are permitted to participate in, and are not denied

the benefits of programs, services, and activities provided by Defendant DJJ. 42

U.S.C. § 12132; 28 C.F.R. § 35.152(b)(1).

      136. Defendant DJJ violates the ADA by failing to make “reasonable

modifications to policies, practices, or procedures when the modifications are

necessary to avoid discrimination on the basis of disability…” 28 C.F.R. §

35.130(b)(7).

      137. Defendant DJJ discriminates against “qualified individual[s] with a

disability” within the meaning of the ADA by administering programs and services

for children with disabilities in a manner that denies them the opportunities to




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receive services in the most integrated setting appropriate to their needs. 28 C.F.R.

§ 35.152(b)(2).

      138. As a result of Defendant DJJ’s policies and practices regarding

individuals with disabilities, Plaintiffs and the Disability Subclass are

unnecessarily placed and retained in solitary confinement due to their disabilities;

are denied equal access to activities, programs, and services for which they are

otherwise qualified; and are denied the opportunity to receive services in the most

integrated setting appropriate to their needs.

      139. As a direct and proximate cause of these actions and omissions,

Plaintiffs and the Disability Subclass have suffered and continued to suffer from

harm and violation of their ADA rights. These harms will continue unless enjoined

by this Court.

                                   COUNT IV
          (All Plaintiffs and the Disability Subclass v. Defendant DJJ)
                       Section 504 of the Rehabilitation Act
      140. Paragraphs 1 through 116 are incorporated herein as if fully set forth.

      141. Plaintiffs and other Disability Subclass members are qualified

individuals with disabilities as defined in Section 504 of the Rehabilitation Act. 29

U.S.C. §§ 705(20) & 794.




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      142. Plaintiffs and other Disability Subclass members are qualified to

participate in the services, programs, activities, and benefits provided to children in

DJJ custody within the meaning of Section 504 of the Rehabilitation Act.

      143. Defendant DJJ excludes Plaintiffs and the Disability Subclass from

participation in and denies them the benefits of programs or activities, by reason of

their disabilities. 29 U.S.C. § 794(a); 28 C.F.R. § 42.503(a).

      144. Defendant DJJ discriminates against “qualified individual[s] with a

disability” within the meaning of the Rehabilitation Act by administering programs

and services for children with disabilities in a manner that denies them the

opportunities to receive services in the most integrated setting appropriate to their

needs. 29 U.S.C. § 794; 45 C.F.R. § 84.4(b)(2).

      145. Defendant DJJ denies Plaintiffs and the Disability Subclass the

opportunity afforded others to participate in programs or activities. 28 C.F.R. §

42.503(b)(1).

      146. Defendant DJJ utilizes criteria or methods of administration that either

purposely, or in effect, discriminate on the basis of handicap and defeat or

substantially impair accomplishment of the objectives of Defendant DJJ’s

programs or activities with respect to handicapped persons. 28 U.S.C. §

42.503(b)(3).




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      147. Defendant DJJ violates Section 504 of the Rehabilitation Act by

failing to reasonably accommodate children with disabilities in its facilities,

programs, activities, and services.

      148. As a result of Defendant DJJ’s discrimination and failure to provide

reasonable accommodations, Plaintiffs and members of the Disability Subclass do

not have equal access to DJJ’s activities, programs, and services for which they are

otherwise qualified.

      149. As a direct and proximate cause of these policies and practices,

Plaintiffs and the Disability Subclass have suffered and continue to suffer harm

and violation of their rights under Section 504 of the Rehabilitation Act. These

harms will continue unless enjoined by this Court.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs on behalf of themselves and the class and

disability subclass they seek to represent, respectfully request that this Court:

      A.     Assume jurisdiction;

      B.     Permit the Plaintiffs to proceed using pseudonyms;

      C.     Declare this suit is maintainable as a class action pursuant to Rules

23(a) and 23(b)(1) and (2) of the Federal Rule of Civil Procedure;

      D.     Adjudge and declare that the conditions, acts, omission, policies, and

practices of Defendants and their agents, officials, and employees are in violation


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of the rights of Plaintiffs and the class and subclass they represent under the Eighth

and Fourteenth Amendments to the U.S. Constitution;

      E.     Permanently enjoin Defendants, their agents, officials, employees, and

all persons acting in concert with them under color of state law or otherwise, from

continuing the unlawful acts, conditions, and practices described in this Complaint;

      F.     Order Defendants, their agents, officials, employees, and all persons

acting in concert with them under color of state law or otherwise, to develop and

implement, as soon as practical, a plan to eliminate the substantial risk of serious

harm described herein;

      G.     Retain jurisdiction over Defendants until such time as the Court is

satisfied that the unlawful policies, practices, acts, and omissions complained of

herein no longer exist and will not recur;

      H.     Award Plaintiffs, pursuant to 29 U.S.C. § 794, 42 U.S.C. §§ 1988,

12205, and 12133, the costs of this suit and reasonable attorneys’ fees and

litigation expenses; and

      I.     Grant such other and further relief and this Court deems just and

proper.

Dated: September 4, 2019                       Respectfully submitted,

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